         Case 1:18-cv-01995-APM Document 72 Filed 04/22/22 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

MARION COSTER, et al.,              *
                                    *
            Plaintiffs,             *
                                    *              Civil Action No. 18-CV-1995-APM
      v.                            *
                                    *
STEVEN F. SCHWAT, et al.,           *
                                    *
            Defendants,             *
                                    *
___________________________________ *

               CONSENT MOTION TO MODIFY SCHEDULING ORDER

       To provide additional time to complete discovery after the resolution of the pending Motion

to Compel, a hearing for which is scheduled for May 12, 2022, Plaintiffs request, with Individual

Defendants’ consent, the following modifications to the following case deadlines set forth in the

Court’s March 3, 2022 Minute Order:

           •   Close of Fact Discovery – August 1, 2022 (currently 05/03/2022)

           •   Joint Status Report Re Discovery Status – August 8, 2022 (currently 05/10/2022)

           •   Plaintiffs’ Expert Reports & Rule 26(a)(2) Disclosures – August 29, 2022

               (currently 05/31/2022)

           •   Defendants’ Expert Reports & Rule 26(a)(2) Disclosures – October 27, 2022

               (currently 07/29/2022)

           •   Plaintiff’s Rebuttal Expert Reports & Rule 26(a)(2) Disclosures – November

               10, 2022 (currently 08/12/2022)

           •   Close of Discovery – November 28, 2022 (currently 08/26/2022)

           •   Post-Discovery Status Conference – December 1, 2022 (currently 09/02/2022).

                                    *       *      *       *
        Case 1:18-cv-01995-APM Document 72 Filed 04/22/22 Page 2 of 3




      Plaintiffs note this is the fifth request for modification of the Court’s Scheduling Order.



                                            Respectfully submitted,


Dated: April 22, 2022                       /s/Branden Lewiston
                                            Michael K. Ross (D.C. Bar No. 458573)
                                            Serine R. Consolino (D.C. Bar No. 740826)
                                            Branden Lewiston (D.C. Bar No. 252550)
                                            AEGIS LAW GROUP LLP
                                            801 Pennsylvania Avenue, N.W., Suite 740
                                            Washington, D.C. 20004
                                            Tel: (202) 737-3373
                                            Fax: (202) 735-5071
                                            mross@aegislawgroup.com
                                            sconsolino@aegislawgroup.com
                                            blewiston@aegislawgroup.com

                                            Counsel for Plaintiffs




                                              -2-
          Case 1:18-cv-01995-APM Document 72 Filed 04/22/22 Page 3 of 3




                                  CERTIFICATE OF SERVICE

       I hereby certify that on April 22, 2022, I electronically filed the foregoing document with

the Clerk of the Court using the electronic court filing system, which will provide notification of

such filing to all counsel of record.

                                                     /s/Branden Lewiston
                                                     Branden Lewiston




                                               -3-
